                    Case 18-40488               Doc 1        Filed 05/24/18 Entered 05/24/18 12:38:13                               Desc Main
                                                               Document     Page 1 of 13
Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF GEORGIA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Jerome
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's
     license or passport).         Middle name                                                      Middle name
     Bring your picture            White
     identification to your
                                   Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)
     meeting with the trustee.




2.   All other names you have Jerome Albert White, Sr.
     used in the last 8 years Jerome W. White
     Include your married or  Jerome Albert White
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-9744
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
                    Case 18-40488           Doc 1         Filed 05/24/18 Entered 05/24/18 12:38:13                             Desc Main
                                                            Document     Page 2 of 13
Debtor 1   Jerome White                                                                               Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 9 Adair Court
                                 Columbus, GA 31906
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Muscogee
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                    Case 18-40488            Doc 1          Filed 05/24/18 Entered 05/24/18 12:38:13                               Desc Main
                                                              Document     Page 3 of 13
Debtor 1    Jerome White                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          MIDDLE DISTRICT OF
                                              District    GEORGIA                       When     12/22/16               Case number      16-41144
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
                    Case 18-40488            Doc 1        Filed 05/24/18 Entered 05/24/18 12:38:13                                  Desc Main
                                                            Document     Page 4 of 13
Debtor 1    Jerome White                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
                    Case 18-40488              Doc 1        Filed 05/24/18 Entered 05/24/18 12:38:13                            Desc Main
                                                              Document     Page 5 of 13
Debtor 1    Jerome White                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
                    Case 18-40488           Doc 1        Filed 05/24/18 Entered 05/24/18 12:38:13                                    Desc Main
                                                           Document     Page 6 of 13
Debtor 1    Jerome White                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities                                                        $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?                          $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Jerome White
                                 Jerome White                                                      Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     May 24, 2018                                      Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
                    Case 18-40488              Doc 1          Filed 05/24/18 Entered 05/24/18 12:38:13                             Desc Main
                                                                Document     Page 7 of 13
Debtor 1   Jerome White                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ CHARLES R. "CHAD" HUNT                                         Date         May 24, 2018
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                CHARLES R. "CHAD" HUNT 378493
                                Printed name

                                Charles R. Hunt
                                Firm name

                                112 E. Lee Street
                                Dawson, GA 39842
                                Number, Street, City, State & ZIP Code

                                Contact phone     (229) 995-4868                             Email address         chadhuntlaw@gmail.com
                                378493 GA
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
                 Case 18-40488                    Doc 1          Filed 05/24/18 Entered 05/24/18 12:38:13                           Desc Main
                                                                   Document     Page 8 of 13
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        Middle District of Georgia
 In re       Jerome White                                                                                          Case No.
                                                                                      Debtor(s)                    Chapter     13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                       $              175.00/hour
             Prior to the filing of this statement I have received                                             $                      0.00
             Balance Due                                                                                       $                       uk

2.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):           Debtor(s), guarantor(s), & legal insurance, if any

3.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):           Debtor(s), guarantor(s), & legal insurance, if any

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; Pre -confirmation modifications if not
                 due to debtor's error.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Dischargeability actions; reliefs from stay; adversary proceedings; more than 15 creditors; more than 2 reaffirmations or 2
               avoidance actions; conversions; settlements for PI or other legal actions; addition of creditors after filing the initial matrix;
               late Proofs of Claim; recovery of repossessed property; post-confirmation modifications; pre-confirmation modifications if
               due to debtor's error; Foreclosure or Dispossessory proceedings;Objections to Proofs of Claim; filing Proofs of Claims on
               behalf of creditors; Objections/Motions by US Trustee; Substitution of Collateral; Deconsolidations;Excessive Income/CMI
               Objections; missed payment to court, attorney, or trustee; Motions to Dismiss; Audits; illegal actions by creditors after
               filing; reopening the bankruptcy; Other services specified in the fee contract.
                                                                              CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     May 24, 2018                                                                     /s/ CHARLES R. "CHAD" HUNT
     Date                                                                             CHARLES R. "CHAD" HUNT 378493
                                                                                      Signature of Attorney
                                                                                      Charles R. Hunt
                                                                                      112 E. Lee Street
                                                                                      Dawson, GA 39842
                                                                                      (229) 995-4868 Fax: Available Upon Request
                                                                                      chadhuntlaw@gmail.com
                                                                                      Name of law firm




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                 Case 18-40488                    Doc 1          Filed 05/24/18 Entered 05/24/18 12:38:13         Desc Main
                                                                   Document     Page 9 of 13




                                                               United States Bankruptcy Court
                                                                     Middle District of Georgia
 In re      Jerome White                                                                          Case No.
                                                                                 Debtor(s)        Chapter    13




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: May 24, 2018                                                   /s/ Jerome White
                                                                      Jerome White
                                                                      Signature of Debtor




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    Case 18-40488   Doc 1   Filed 05/24/18 Entered 05/24/18 12:38:13   Desc Main
                             Document     Page 10 of 13

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                      A+ FAST CASH ADVANCE, INC
                      806 13TH ST
                      PHENIX CITY AL 36867

                      ALABAMA DEPARTMENT OF REVENUE
                      PO BOX 327480
                      MONTGOMERY AL 36132

                      ANN HOPKINS
                      3732 UKRAINE DR
                      COLUMBUS GA 31906

                      BANK OF AMERICA
                      PO BOX 982235
                      EL PASO TX 79998

                      C & F FINANCE COMPANY
                      PO BOX 2129
                      RICHMOND VA 23218

                      CAPITAL ONE
                      ATTN: BANKRUPTCY DEPT.
                      PO BOX 30285
                      SALT LAKE CITY UT 84130

                      CELTIC BANK/CONTINENTAL FINANCE/SURGE
                      PO BOX 8099
                      NEWARK DE 19714

                      COMCAST
                      1701 JOHN F. KENNEDY BLVD
                      PHILADELPHIA PA 19103

                      COMCAST
                      C/O CONVERGENT OUTSOURCING
                      800 SW 39TH ST
                      RENTON WA 98057

                      CREDIT ONE
                      C/O ALLTRAN FINANCIAL LP
                      PO BOX 610
                      SAUK RAPIDS MN 56379

                      CREDIT ONE BANK
                      PO BOX 98873
                      LAS VEGAS NV 89193

                      DORIAN DAVIS
                      C/O IL DEPARTMENT OF HEALTHCARE
                      CHILD SUPPORT SERVICES
                      509 S 6TH ST
                      SPRINGFIELD IL 62701
Case 18-40488   Doc 1   Filed 05/24/18 Entered 05/24/18 12:38:13   Desc Main
                         Document     Page 11 of 13


                  FIRST PREMIER BANK
                  PO BOX 5519
                  SIOUX FALLS SD 57117-5519

                  FLOWERS BUILDING
                  2221 MANCHESTER EXPRESSWAY
                  COLUMBUS GA 31901-6826

                  GA DEPARTMENT OF REVENUE
                  COMPLIANCE DIVISION
                  ARCS-BANKRUPTCY
                  1800 CENTURY BLVD NE SUITE 9100
                  ATLANTA GA 30345-3205

                  GEORGIA POWER
                  BANKRUPTCY DEPARTMENT
                  PO BOX 105537
                  ATLANTA GA 30348

                  GEORGIA POWER
                  C/O NOTTE & KREYLING PC
                  11770 HAYNES BRIDGE RD 205-104
                  ALPHARETTA GA 30009

                  IRS
                  PO BOX 7346
                  PHILADELPHIA PA 19101-7346

                  KOHLS/CAPITAL ONE
                  PO BOX 3043
                  MILWAUKEE WI 53201

                  MERRICK BANK
                  PO BOX 9201
                  OLD BETHPAGE NY 11804

                  MERRICK BANK CORP
                  C/O CARSON SMITHFIELD LLC
                  PO BOX 9216
                  OLD BETHPAGE NY 11804

                  MICHELLE PRICE
                  C/O IL DEPARTMENT OF HEALTHCARE
                  CHILD SUPPORT SERVICES
                  509 S 6TH ST
                  SPRINGFIELD IL 62701

                  MIDTOWN MEDICAL CENTER
                  C/O NPAS INC
                  PO BOX 99400
                  LOUISVILLE KY 40269

                  MIDTOWN MEDICAL CENTER
                  PO BOX 630931
                  CINCINNATI OH 45263-0931
Case 18-40488   Doc 1   Filed 05/24/18 Entered 05/24/18 12:38:13   Desc Main
                         Document     Page 12 of 13


                  NNEKA GORDON
                  C/O OFFICE OF CHILD SUPPORT SERVICES
                  CHATTAHOOCHEE JUDICIAL CIRCUIT
                  PO BOX 309
                  COLUMBUS GA 31902-0309

                  PHENIX FINANCE
                  1111 BROAD STREET
                  PHENIX CITY AL 36867

                  PHENIX FINANCE
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Case 18-40488   Doc 1   Filed 05/24/18 Entered 05/24/18 12:38:13   Desc Main
                         Document     Page 13 of 13


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